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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Best Rock Quarry, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  26282 Neuman St.
                                  Barstow, CA 92311
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Bernardino                                                  Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Best Rock Quarry, Inc.                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Best Rock Quarry, Inc.                                                                          Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Best Rock Quarry, Inc.                                                          Case number (if known)
         Name

                                  $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                  $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Form     1120-S                                                 U.S. Income Tax Return for an S Corporation
                                            Do not file this form unless the corporation has filed or
                                                                                                                                                                                                                 OMB No. 1545-0123



Department of the Treasury
Internal Revenue Service
                                            is attaching Form 2553 to elect to be an S corporation.
                                  Go to www.irs.gov/Form1120S for instructions and the latest information.
                                                                                                                                                                                                                      2022
For calendar year 2022 or tax year beginning                    , 2022, ending                   ,
A S election effective date                                                                                                                                                                      D    Employer identification number

         3/10/2009                       TYPE                                                                                                                                                        XX-XXXXXXX
B     Business activity code                               BEST ROCK QUARRY, INC.                                                                                                                E    Date incorporated
      number (see instructions)          OR                26282 NEUMAN ROAD
      212320                                                                                                                                                                                           3/10/2009
                                         PRINT             BARSTOW, CA 92311                                                                                                                     F
C     Check if Schedule                                                                                                                                                                               Total assets (see instructions)
      M-3 attached
                                                                                                                                                                                                 $                    4,007,039.
G Is the corporation electing to be an S corporation beginning with this tax year? See instructions.                                                                             Yes          X No
H     Check if:          (1)
                         Final return     (2)     Name change        (3)    Address change
                         (4)
                         Amended return       (5)    S election termination
I     Enter the number of shareholders who were shareholders during any part of the tax year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
J     Check if corporation:    (1)    Aggregated activities for section 465 at-risk purposes (2)       Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 21. See the instructions for more information.
      1 a Gross receipts or sales . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    1a
        b Returns and allowances . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       1b
 I      c Balance. Subtract line 1b from line 1a. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             1c
 N
 C    2 Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   2
 O
 M    3 Gross profit. Subtract line 2 from line 1c. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               3
 E
      4 Net gain (loss) from Form 4797, line 17 (attach Form 4797). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   4
      5 Other income (loss) (see instrs ' att statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     5
      6 Total income (loss). Add lines 3 through 5. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   6
      7 Compensation of officers (see instructions ' attach Form 1125-E). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         7
      8 Salaries and wages (less employment credits) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        8
 D
 E    9 Repairs and maintenance. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      9
 D
 U   10 Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
 C   11 Rents. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
 T
 I
 O
     12 Taxes and licenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12                                   822.
 N   13 Interest (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
 S
     14 Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562). . . 14                                                                                                             1,895.
 S
 E   15 Depletion (Do not deduct oil and gas depletion.). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
 E
     16 Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
 I   17 Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
 N
 S   18 Employee benefit programs. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
 T
 R   19 Other deductions (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . SEE                         . . . . . . STATEMENT
                                                                                                                                                                         ...............1              . 19                 6,552.
 S
     20 Total deductions. Add lines 7 through 19 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20                                                 9,269.
     21 Ordinary business income (loss). Subtract line 20 from line 6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21                                                                  -9,269.
     22 a Excess net passive income or LIFO recapture
          tax (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22 a
 T
 A      b Tax from Schedule D (Form 1120-S). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22 b
 X
        c Add lines 22a and 22b (see instructions for additional taxes). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22 c
 A
 N     23 a 2022 estimated tax payments and 2021 overpayment credited to 2022. . . . . . 23 a
 D
          b Tax deposited with Form 7004 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23 b
 P
 A        c Credit for federal tax paid on fuels (attach Form 4136). . . . . . . . . . . . . . . . . . . . . 23 c
 Y        d Add lines 23a through 23c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 M                                                                                                                                                                                                   23 d
 E     24                                                                                                                                                                                            24
 N              Estimated tax penalty (see instructions). Check if Form 2220 is attached. . . . . . . . . . . . . . . . . . . . . . . . . .
 T
 S
       25       Amount owed. If line 23d is smaller than the total of lines 22c and 24, enter amount owed. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             25                                 0.
       26       Overpayment. If line 23d is larger than the total of lines 22c and 24, enter amount overpaid . . . . . . . . . . . .                                                                 26
       27       Enter amount from line 26: Credited to 2023 estimated tax                                                                         Refunded . .                                       27
                    Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true,
                    correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign                                                                                                                                                            May the IRS discuss this return
                                                                                                                                                                with the preparer shown below?
Here                                                                                                                                          SECRETARY         See instructions.
                    Signature of officer                                                Date                          Title                                                        Yes           No                    X
                    Print/Type preparer's name                                          Preparer's signature                                       Date                                                        PTIN
                                                                                                                                                                                    Check             if
Paid                GREG A. PRICE, CPA                                                                                                                                              self-employed        P00048589
Preparer            Firm's name    PRICE & FARRINGTON                                                                                                                           Firm's EIN           XX-XXXXXXX
Use Only
                    Firm's address 9404 GENESEE AVE STE 210
                                   LA JOLLA, CA 92037                                                                                                                           Phone no.       (858) 657-9000
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                  SPSA0112        09/14/22                                     Form 1120-S (2022)
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Form 1120-S (2022)BEST ROCK QUARRY, INC.                                                                                                                                                XX-XXXXXXX                                Page 2
Schedule B     Other Information (see instructions)                                                                                                                                                                    Yes         No
 1 Check accounting method: a X Cash b   Accrual   c                                                                   Other (specify)
 2     See the instructions and enter the:
       a Business activity ROCK QUARRY                                                                       b Product or service                 MINING
 3  At any time during the tax year, was any shareholder of the corporation a disregarded entity, a trust, an estate, or a
    nominee or similar person? If "Yes," attach Schedule B-1, Information on Certain Shareholders of an S Corporation . . . . . .                                                                                                         X
 4 At the end of the tax year, did the corporation:
  a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total stock issued and outstanding of
    any foreign or domestic corporation? For rules of constructive ownership, see instructions. If "Yes," complete (i)
    through (v) below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               X
                 (i) Name of Corporation                                                                    (ii) Employer                             (iii) Country of                       (iv) Percentage (v) If Percentage in (iv)
                                                                                                             Identification                            Incorporation                          of Stock Owned is 100%, Enter the
                                                                                                           Number (if any)                                                                                              Date (if applicable) a
                                                                                                                                                                                                                        Qualified Subchapter
                                                                                                                                                                                                                        S Subsidiary Election
                                                                                                                                                                                                                             Was Made




     b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or
       capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest
       of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below. . . . . . . . . . . . . . . . . .                                                                                  X
                                 (i) Name of Entity                                                             (ii) Employer                      (iii) Type                    (iv) Country of                      (v) Maximum %
                                                                                                                 Identification                    of Entity                      Organization                         Owned in Profit,
                                                                                                               Number (if any)                                                                                         Loss, or Capital




 5 a At the end of the tax year, did the corporation have any outstanding shares of restricted stock?. . . . . . . . . . . . . . . . . . . . . . . . . .                                                                               X
     If "Yes," complete lines (i) and (ii) below.
     (i) Total shares of restricted stock . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     (ii) Total shares of non-restricted stock . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     b At the end of the tax year, did the corporation have any outstanding stock options, warrants, or similar instruments?. . . . . .                                                                                                X
       If "Yes," complete lines (i) and (ii) below.
       (i) Total shares of stock outstanding at the end of the tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
       (ii) Total shares of stock outstanding if all instruments were executed . . . . . . . . . . . . . . . . . . . . . . . . . . .
 6     Has this corporation filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
       information on any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                X
 7     Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . . . . . . . . . . . . .
       If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount
       Instruments.
 8     If the corporation (a) was a C corporation before it elected to be an S corporation or the corporation acquired an
       asset with a basis determined by reference to the basis of the asset (or the basis of any other property) in
       the hands of a C corporation, and (b) has net unrealized built-in gain in excess of the net recognized built-in gain
       from prior years, enter the net unrealized built-in gain reduced by net recognized built-in gain from prior years.
       See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
 9     Did the corporation have an election under section 163(j) for any real property trade or business or any farming business
       in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 X
10     Does the corporation satisfy one or more of the following? See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                            X
  a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
  b The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
    preceding the current tax year are more than $27 million and the corporation has business interest expense.
  c The corporation is a tax shelter and the corporation has business interest expense.
    If "Yes," complete and attach Form 8990, Limitation on Business Interest Expense Under Section 163(j).
11 Does the corporation satisfy both of the following conditions?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   X
  a The corporation's total receipts (see instructions) for the tax year were less than $250,000.
  b The corporation's total assets at the end of the tax year were less than $250,000.
    If "Yes," the corporation is not required to complete Schedules L and M-1.
                                                                                                        SPSA0112        09/14/22                                                                             Form 1120-S (2022)
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Form 1120-S (2022)              BEST ROCK QUARRY, INC.                                                                                                                                    XX-XXXXXXX                         Page 3
Schedule B                     Other Information (see instructions) (continued)                                                                                                                                      Yes       No
12    During the tax year, did the corporation have any non-shareholder debt that was canceled, was forgiven, or had the
      terms modified so as to reduce the principal amount of the debt?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            X
       If "Yes," enter the amount of principal reduction. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
13 During the tax year, was a qualified subchapter S subsidiary election terminated or revoked? If "Yes," see instructions. . . . .                                                                                            X
14a Did the corporation make any payments in 2022 that would require it to file Form(s) 1099? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                    X
  b If "Yes," did or will the corporation file required Form(s) 1099?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
15 Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                             X
      If "Yes," enter the amount from Form 8996, line 15 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
Schedule K                     Shareholders' Pro Rata Share Items                                                                                                                                             Total amount
Income          1 Ordinary business income (loss) (page 1, line 21). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        1             -9,269.
(Loss)          2 Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             2
                3 a Other gross rental income (loss). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3 a
                  b Expenses from other rental activities (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . 3 b
                  c Other net rental income (loss). Subtract line 3b from line 3a. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             3c
                4 Interest income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         4
                5 Dividends: a Ordinary dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          5a
                                   b Qualified dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5 b
                6 Royalties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   6
                7 Net short-term capital gain (loss) (attach Schedule D (Form 1120-S)) . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         7
                8 a Net long-term capital gain (loss) (attach Schedule D (Form 1120-S)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      8a
                  b Collectibles (28%) gain (loss). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8 b
                  c Unrecaptured section 1250 gain (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8 c
                9 Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       9
               10 Other income (loss) (see instructions). . . . . . . . . . Type:                                                                                                                      10
Deduc-         11 Section 179 deduction (attach Form 4562). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   11
tions          12 a Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             12 a
                  b Investment interest expense. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   12 b
                  c Section 59(e)(2) expenditures . . . . . . . . . . . . . . . . . Type:                                                                                                              12 c
                  d Other deductions (see instructions) . . . . . . . . . . . . Type:                                                                                                                  12 d
Credits        13 a Low-income housing credit (section 42(j)(5)). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                13 a
                    b Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      13 b
                    c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             13 c
                    d Other rental real estate credits (see instrs) . . . . . Type:                                                                                                                    13 d
                    e Other rental credits (see instructions) . . . . . . . . . . Type:                                                                                                                13 e
                    f Biofuel producer credit (attach Form 6478) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             13 f
                    g Other credits (see instructions) . . . . . . . . . . . . . . . . Type:                                                                                                           13 g

Interna-
tional         14      Attach Schedule K-2 (Form 1120-S), Shareholders' Pro Rata Share Items—International, and
                       check this box to indicate you are reporting items of international tax relevance. . . . . . . . . . . .
Alterna-       15 a Post-1986 depreciation adjustment. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         15 a                  -11.
tive              b Adjusted gain or loss. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           15b
Mini-
mum               c Depletion (other than oil and gas). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      15 c
Tax               d Oil, gas, and geothermal properties ' gross income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         15d
(AMT)
Items             e Oil, gas, and geothermal properties ' deductions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      15 e
                  f Other AMT items (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          15 f
Items          16 a Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   16 a
Affec-            b Other tax-exempt income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 16b
ting
Share-            c Nondeductible expenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                16 c
holder            d Distributions (attach stmt if required) (see instrs). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                16d
Basis
                  e Repayment of loans from shareholders. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              16 e
                  f Foreign taxes paid or accrued . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    16 f
BAA                                                                                                         SPSA0134         09/14/22                                                                          Form 1120-S (2022)
                Case 6:23-bk-13800-MH                                            Doc 1 Filed 08/24/23 Entered 08/24/23 14:18:02                                                                                Desc
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Form 1120-S (2022)               BEST ROCK QUARRY, INC.                                                                                                                             XX-XXXXXXX                             Page 4
Schedule K                      Shareholders' Pro Rata Share Items (continued)                                                                                                                              Total amount
Other            17 a Investment income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   17 a
Infor-              b Investment expenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     17 b
mation
                    c Dividend distributions paid from accumulated earnings and profits. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           17 c
                      d Other items and amounts
                        (attach statement)
Recon-           18     Income (loss) reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
ciliation               From the result, subtract the sum of the amounts on lines 11 through 12d and 16f . . . . . . . . . . . . . . . .                                                        18                  -9,269.
Schedule L                      Balance Sheets per Books                                                 Beginning of tax year                                                               End of tax year
                                    Assets                                                            (a)                    (b)                                                    (c)                            (d)
  1 Cash. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  2 a Trade notes and accounts receivable. . . . . . . .
    b Less allowance for bad debts . . . . . . . . . . . . . . .                      (                                   )                                          (                              )
  3 Inventories . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                             785,745.                                                              785,745.
  4 U.S. government obligations. . . . . . . . . . . . . . . .
  5 Tax-exempt securities (see instructions). . . . .
  6 Other current assets (attach stmt). . . . . SEE       . . . . . . ST
                                                                      . . . . .2..                                                               74.                                                                   74.
  7 Loans to shareholders. . . . . . . . . . . . . . . . . . . . . .                                                                        100,512.                                                              100,512.
  8 Mortgage and real estate loans . . . . . . . . . . . . .
  9 Other investments (attach statement) . . . . . . . . . . . . . . .
 10 a Buildings and other depreciable assets. . . . . .                                              442,937.                                                                     442,937.
    b Less accumulated depreciation . . . . . . . . . . . . .                         (              253,092.)                              189,845. (                            254,987.)                       187,950.
 11 a Depletable assets. . . . . . . . . . . . . . . . . . . . . . . . . .
    b Less accumulated depletion . . . . . . . . . . . . . . . .                      (                                   )                                          (                              )
 12 Land (net of any amortization). . . . . . . . . . . . . .                                                                         2,828,880.                                                               2,828,880.
 13 a Intangible assets (amortizable only). . . . . . . . .
    b Less accumulated amortization . . . . . . . . . . . . .                         (                                   )                                          (                              )
 14 Other assets (attach stmt). . . . . .SEE                . . . . . .ST
                                                                        . . . .3..                                                      103,878.                                                                 103,878.
 15 Total assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        4,008,934.                                                               4,007,039.
        Liabilities and Shareholders' Equity
 16 Accounts payable. . . . . . . . . . . . . . . . . . . . . . . . . .
 17 Mortgages, notes, bonds payable in less than 1 year . . . .
 18 Other current liabilities (attach stmt). . . SEE      . . . . . . ST
                                                                      . . . . .4..                                                        5,457.                                                                   5,457.
 19 Loans from shareholders . . . . . . . . . . . . . . . . . . .                                                                     6,099,803.                                                               6,107,179.
 20 Mortgages, notes, bonds payable in 1 year or more . . . . .
 21 Other liabilities (attach statement) . . . . SEE      . . . . . . ST
                                                                      . . . . .5..                                                                   2.
 22 Capital stock. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                   1,000.                                                              1,000.
 23 Additional paid-in capital . . . . . . . . . . . . . . . . . . .
 24 Retained earnings. . . . . . . . . . . . . . . . . . . . . . . . . .                                                            -2,097,328.                                                               -2,106,597.
 25 Adjustments to shareholders' equity (att stmt). . . . . . . . .
 26 Less cost of treasury stock . . . . . . . . . . . . . . . . .                                                             (                                  )                                      (                       )
 27 Total liabilities and shareholders' equity . . . . .                                                                              4,008,934.                                                               4,007,039.
                                                                                                         SPSA0134        09/14/22                                                                            Form 1120-S (2022)
              Case 6:23-bk-13800-MH                                           Doc 1 Filed 08/24/23 Entered 08/24/23 14:18:02                                                         Desc
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Form 1120-S (2022) BEST
                   ROCK QUARRY, INC.                                            XX-XXXXXXX                                                                                                        Page 5
Schedule M-1 Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                              Note: The corporation may be required to file Schedule M-3. See instructions.
 1     Net income (loss) per books. . . . . . . . . . . . . . . .                                   -9,269. 5 Income recorded on books this year not included
 2     Income included on Schedule K, lines 1, 2, 3c, 4, 5a, 6, 7,                                                       on Schedule K, lines 1 through 10 (itemize):
       8a, 9, and 10, not recorded on books this year (itemize):                                                       a Tax-exempt interest . . $
                                                                                                                                                 ........


 3     Expenses recorded on books this year not                                                                       6 Deductions included on Schedule K, lines 1 through
       included on Schedule K, lines 1 through 12                                                                        12, and 16f, not charged against book income this
       and 16f (itemize):                                                                                                year (itemize):
     a Depreciation. . . . . . . . $                                                                                   a Depreciation. . . . $
     b Travel and entertainment $
                                                      7 Add lines 5 and 6. . . . . . . . . . . . . . . . . . . . . . .               0.
 4                                          -9,269. 8 Income (loss) (Schedule K, line 18). Subtract line 7 from line 4. . . . .
       Add lines 1 through 3 . . . . . . . . . . . . . . . . . . . . . .                                                        -9,269.
Schedule M-2 Analysis of Accumulated Adjustments Account, Shareholders' Undistributed Taxable Income
             Previously Taxed, Accumulated Earnings and Profits, and Other Adjustments Account
             (see instructions)
                                                                                                  (a) Accumulated              (b) Shareholders'          (c) Accumulated          (d) Other adjustments
                                                                                                adjustments account           undistributed taxable
                                                                                                                            income previously taxed     earnings and profits              account
 1     Balance at beginning of tax year. . . . . . . . . . . . . . . . .                                 -6,116.
 2     Ordinary income from page 1, line 21 . . . . . . . . . . . .
 3     Other additions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 4     Loss from page 1, line 21. . . . . . . . . . . . . . . . . . . . . . . . (                         9,269. )
 5     Other reductions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (                                )                                                      (                           )
 6     Combine lines 1 through 5. . . . . . . . . . . . . . . . . . . . . . .                        -15,385.
 7     Distributions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 8     Balance at end of tax year. Subtract line 7 from line 6. . . . . . . .                        -15,385.
                                                                                              SPSA0134   09/14/22                                                                  Form 1120-S (2022)
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                    Case 6:23-bk-13800-MH              Doc 1 Filed 08/24/23 Entered 08/24/23 14:18:02                                                   Desc
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 Fill in this information to identify the case:
 Debtor name Best Rock Quarry, Inc.
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                 Check if this is an
                                                CALIFORNIA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 CDTFA                                               Sales and Use Tax                                                                                             $8,824.97
 P.O. Box 942879
 Sacramento, CA            (951) 680-6400
 94279
 CDTFA                                               Sales and Use Tax                                                                                             $5,556.06
 3737 Main St., Ste.
 1000                      (951) 680-6400
 Riverside, CA
 92501-3395
 Charter                                             Business expense                                                                                                $680.89
 Communications
 400 Washington            (855) 707-7328
 Blvd.
 Stamford, CT 06902
 Dept. of the                                        Business expense                                                                                                $803.40
 Treasury
 Bureau of Fiscal          (800) 304-3107
 Service
 3201 Pennsy Dr.
 Bldg. E
 Hyattsville, MD
 20785
 EDD                                                 UI/SDI/Underpaym                                                                                                  $30.25
 P.O. Box 826215                                     ent penalty and
 MIC 3A                    (800) 480-3287            Interest
 Sacramento, CA
 94230-6215
 Powerscreen of                                      Business vendor                                                                                             $21,785.69
 Northern CA               info@powerscreen
 1205 Business Park        california.com
 Dr.                       (707) 253-1874
 Dixon, CA 95620




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 Debtor    Best Rock Quarry, Inc.                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 San Bernardino                                      APN:                                                  $497,518.62                 $57,642.00              $439,876.62
 County Tax                                          0497-XXX-XX-XXXX
 Collector                                           RK SND GRV -
 268 W. Hospitality                                  Single Family
 Ln, First Fl.                                       Residential
 San Bernardino, CA                                  Situs Address:
 92408                                               26282 Neuman
                                                     Rd, Barstow, CA
                                                     92587
                                                     Mailing Address:
                                                     31524 Railroad
                                                     Cany
 San Bernardino                                      Unsecured                                                                                                     $3,437.36
 County Tax                                          property tax bills
 Collector                 (909) 387-8308
 268 W. Hospitality
 Ln, First Fl.
 San Bernardino, CA
 92408
 San Bernardino                                      APN:                                                     $1,864.95                 $1,215.00                    $649.95
 County Tax                                          0497-XXX-XX-XXXX
 Collector                 (909) 387-8308            Vacant - Industrial
 268 W. Hospitality                                  Mailing Address:
 Ln, First Fl.                                       31524 Railroad
 San Bernardino, CA                                  Canyon Rd., Ste.
 92408                                               4, Canyon Lake,
                                                     CA 92587
 Southern California                                 Utilities                                                                                                   $14,669.45
 Edison
 Post Office Box 600       (800) 990-7788
 Rosemead, CA
 91772-0002
 Spectrum                                            Business expense                                                                                                $562.23
 P.O. Box
 City of Industry, CA      (855) 707-7328
 91716-0074
 T.E. Deloss                                         Equipment rental                                                                                                $464.01
 Equipment Rentals
 P.O. Box 459              (760) 256-1066
 Barstow, CA 92312
 The Local Pages                                     Business expense                                                                                              $1,147.09
 4910 W. Amelia
 Earhart Dr.               (801) 963-1702
 Ste. 1
 Salt Lake City, UT
 84116




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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               Case 6:23-bk-13800-MH                                        Doc 1 Filed 08/24/23 Entered 08/24/23 14:18:02                                                                    Desc
                                                                            Main Document   Page 16 of 48
 Fill in this information to identify the case:

 Debtor name            Best Rock Quarry, Inc.

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        4,553,023.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           309,653.75

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        4,862,676.75


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           629,402.79


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            14,411.28

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        6,150,729.12


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           6,794,543.19




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         Best Rock Quarry, Inc.

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   Chase                                             Business checking
          3.1.     JPMorgan Chase Bank N.A.                          account                               7020                                         $20.75



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                          $20.75
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.


Part 4:          Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
           Case 6:23-bk-13800-MH                  Doc 1 Filed 08/24/23 Entered 08/24/23 14:18:02                            Desc
                                                  Main Document   Page 18 of 48
Debtor       Best Rock Quarry, Inc.                                                    Case number (If known)
             Name




Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used   Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Septic Tank                                                                $0.00     Tax records                        $4,012.00


          500 Ft Electrical Line                                                     $0.00     Tax records                        $4,814.00


          4000 Fencing                                                               $0.00     Tax records                       $12,033.00


          2007 Kawasaki Loader                                                       $0.00     Tax records                      $168,801.00


          Water Truck                                                                $0.00     Tax records                       $15,000.00


          Well Pump                                                                  $0.00     Tax records                        $3,587.00


          Computer                                                                   $0.00     Tax records                          $874.00

Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                     page 2
           Case 6:23-bk-13800-MH                    Doc 1 Filed 08/24/23 Entered 08/24/23 14:18:02                           Desc
                                                    Main Document   Page 19 of 48
Debtor       Best Rock Quarry, Inc.                                                   Case number (If known)
             Name




51.       Total of Part 8.                                                                                                   $209,121.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of       Valuation method used     Current value of
          property                              extent of            debtor's interest       for current value         debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. APN:
                   0497-XXX-XX-XXXX
                   Vacant - Industrial
                   Mailing Address:
                   31524 Railroad
                   Canyon Rd., Ste. 4,
                   Canyon Lake, CA
                   92587                        Fee simple                          $0.00    Tax records                            $1,215.00


          55.2.    APN:
                   0497-XXX-XX-XXXX
                   Well site - Industrial
                   Mailing Address:
                   31524 Railroad
                   Canyon Rd., Ste. 4,
                   Canyon Lake, CA
                   92587                        Fee simple                          $0.00    Tax records                          $25,485.00


          55.3.    APN:
                   0497-XXX-XX-XXXX
                   RK SND GRV - Single
                   Family Residential
                   Situs Address: 26282
                   Neuman Rd,
                   Barstow, CA 92587
                   Mailing Address:
                   31524 Railroad
                   Canyon Rd., Ste. 4,
                   Canyon Lake, CA
                   92587                        Fee simple                          $0.00    Tax records                          $57,642.00


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                        page 3
            Case 6:23-bk-13800-MH                    Doc 1 Filed 08/24/23 Entered 08/24/23 14:18:02                      Desc
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Debtor        Best Rock Quarry, Inc.                                                       Case number (If known)
              Name



           55.4.    APN:
                    0497-XXX-XX-XXXX
                    SFR - Industrial
                    Situs Address: 26388
                    Neuman Rd.,
                    Barstow, CA 92311
                    Mailing Address:
                    31524 Railroad
                    Canyon Rd., Ste. 4,
                    Canyon Lake, CA
                    92587                          Fee simple                            $0.00        Tax records          $3,651,395.00


           55.5.    APN:
                    0497-XXX-XX-XXXX
                    SFR 2 - Single Family
                    Residential
                    Situs Address: 26338
                    Neuman Rd., A/B,
                    Barstow, CA 92311
                    Mailing Address:
                    31524 Railroad
                    Canyon Rd., Ste. 4,
                    Canyon Lake, CA
                    92587                          Fee simple                            $0.00        Tax records            $817,286.00




56.        Total of Part 9.                                                                                             $4,553,023.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                    Current value of
                                                                                                                    debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                               page 4
          Case 6:23-bk-13800-MH                     Doc 1 Filed 08/24/23 Entered 08/24/23 14:18:02           Desc
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Debtor       Best Rock Quarry, Inc.                                                 Case number (If known)
             Name

         Description (for example, federal, state, local)

73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership
         Loan to Shareholder
         Scott Martin                                                                                         $100,512.00




78.      Total of Part 11.                                                                                   $100,512.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                page 5
             Case 6:23-bk-13800-MH                                Doc 1 Filed 08/24/23 Entered 08/24/23 14:18:02                                                 Desc
                                                                  Main Document   Page 22 of 48
Debtor          Best Rock Quarry, Inc.                                                                              Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                   $20.75

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $209,121.00

88. Real property. Copy line 56, Part 9.........................................................................................>                      $4,553,023.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                $100,512.00

91. Total. Add lines 80 through 90 for each column                                                            $309,653.75           + 91b.            $4,553,023.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $4,862,676.75




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 6
            Case 6:23-bk-13800-MH                          Doc 1 Filed 08/24/23 Entered 08/24/23 14:18:02                                         Desc
                                                           Main Document   Page 23 of 48
Fill in this information to identify the case:

Debtor name         Best Rock Quarry, Inc.

United States Bankruptcy Court for the:           CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   CDTFA                                        Describe debtor's property that is subject to a lien                     $5,890.46           $3,651,395.00
      Creditor's Name                              APN: 0497-XXX-XX-XXXX
                                                   SFR - Industrial
                                                   Situs Address: 26388 Neuman Rd., Barstow,
                                                   CA 92311
                                                   Mailing Address: 31524 Railroad Canyon Rd.,
      P.O. Box 942879                              Ste. 4, Canyon Lake, CA 92587
      Sacramento, CA 94279
      Creditor's mailing address                   Describe the lien
                                                   State Tax Lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      7/1/2018                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8578
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      1. San Bernardino County
      Tax Collector
      2. CDTFA

      San Bernardino County Tax
2.2                                                                                                                         $1,864.95                $1,215.00
      Collector                                    Describe debtor's property that is subject to a lien
      Creditor's Name                              APN: 0497-XXX-XX-XXXX
                                                   Vacant - Industrial
      268 W. Hospitality Ln, First                 Mailing Address: 31524 Railroad Canyon Rd.,
      Fl.                                          Ste. 4, Canyon Lake, CA 92587
      San Bernardino, CA 92408
      Creditor's mailing address                   Describe the lien
                                                   Real property taxes
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?

Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4
            Case 6:23-bk-13800-MH                         Doc 1 Filed 08/24/23 Entered 08/24/23 14:18:02                                 Desc
                                                          Main Document   Page 24 of 48
Debtor      Best Rock Quarry, Inc.                                                                Case number (if known)
            Name

      Date debt was incurred                         No
      6/30/2017                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0000
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      San Bernardino County Tax
2.3                                                                                                                           $555.78    $25,485.00
      Collector                                   Describe debtor's property that is subject to a lien
      Creditor's Name                             APN: 0497-XXX-XX-XXXX
                                                  Well site - Industrial
      268 W. Hospitality Ln, First                Mailing Address: 31524 Railroad Canyon Rd.,
      Fl.                                         Ste. 4, Canyon Lake, CA 92587
      San Bernardino, CA 92408
      Creditor's mailing address                  Describe the lien
                                                  Real property taxes
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      6/30/2017                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0000
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      San Bernardino County Tax
2.4                                                                                                                        $497,518.62   $57,642.00
      Collector                                   Describe debtor's property that is subject to a lien
      Creditor's Name                             APN: 0497-XXX-XX-XXXX
                                                  RK SND GRV - Single Family Residential
                                                  Situs Address: 26282 Neuman Rd, Barstow,
                                                  CA 92587
      268 W. Hospitality Ln, First                Mailing Address: 31524 Railroad Canyon Rd.,
      Fl.                                         Ste. 4, Canyon Lake, CA 92587
      San Bernardino, CA 92408
      Creditor's mailing address                  Describe the lien
                                                  Real property taxes
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      6/30/2017                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0000
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 2 of 4
             Case 6:23-bk-13800-MH                         Doc 1 Filed 08/24/23 Entered 08/24/23 14:18:02                                  Desc
                                                           Main Document   Page 25 of 48
Debtor       Best Rock Quarry, Inc.                                                                Case number (if known)
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



       San Bernardino County Tax
2.5                                                                                                                         $112,409.16   $3,651,395.00
       Collector                                   Describe debtor's property that is subject to a lien
       Creditor's Name                             APN: 0497-XXX-XX-XXXX
                                                   SFR - Industrial
                                                   Situs Address: 26388 Neuman Rd., Barstow,
                                                   CA 92311
       268 W. Hospitality Ln, First                Mailing Address: 31524 Railroad Canyon Rd.,
       Fl.                                         Ste. 4, Canyon Lake, CA 92587
       San Bernardino, CA 92408
       Creditor's mailing address                  Describe the lien
                                                   Real property taxes
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       6/30/2017                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0000
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.
       Specified on line 2.1

       San Bernardino County Tax
2.6                                                                                                                          $11,163.82    $817,286.00
       Collector                                   Describe debtor's property that is subject to a lien
       Creditor's Name                             APN: 0497-XXX-XX-XXXX
                                                   SFR 2 - Single Family Residential
                                                   Situs Address: 26338 Neuman Rd., A/B,
                                                   Barstow, CA 92311
       268 W. Hospitality Ln, First                Mailing Address: 31524 Railroad Canyon Rd.,
       Fl.                                         Ste. 4, Canyon Lake, CA 92587
       San Bernardino, CA 92408
       Creditor's mailing address                  Describe the lien
                                                   Real property taxes
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       6/30/2017                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0000
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $629,402.79

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 3 of 4
           Case 6:23-bk-13800-MH                       Doc 1 Filed 08/24/23 Entered 08/24/23 14:18:02                                             Desc
                                                       Main Document   Page 26 of 48
Debtor     Best Rock Quarry, Inc.                                                              Case number (if known)
           Name


Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       CDTFA
       3737 Main St., Ste. 1000                                                                          Line   2.1                                   3579
       Riverside, CA 92501-3395




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                              page 4 of 4
             Case 6:23-bk-13800-MH                       Doc 1 Filed 08/24/23 Entered 08/24/23 14:18:02                                               Desc
                                                         Main Document   Page 27 of 48
Fill in this information to identify the case:

Debtor name        Best Rock Quarry, Inc.

United States Bankruptcy Court for the:          CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $5,556.06         $5,556.06
          CDTFA                                               Check all that apply.
          3737 Main St., Ste. 1000                               Contingent
          Riverside, CA 92501-3395                               Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          11/9/2021                                           Sales and Use Tax

          Last 4 digits of account number 3579                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $8,824.97         $8,824.97
          CDTFA                                               Check all that apply.
          P.O. Box 942879                                        Contingent
          Sacramento, CA 94279                                   Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          6/8/2021                                            Sales and Use Tax

          Last 4 digits of account number 5887                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 4
                                                                                                              38583
            Case 6:23-bk-13800-MH                         Doc 1 Filed 08/24/23 Entered 08/24/23 14:18:02                                                    Desc
                                                          Main Document   Page 28 of 48
Debtor       Best Rock Quarry, Inc.                                                                     Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $30.25    $30.25
          EDD                                                  Check all that apply.
          P.O. Box 826215                                         Contingent
          MIC 3A                                                  Unliquidated
          Sacramento, CA 94230-6215                               Disputed

          Date or dates debt was incurred                      Basis for the claim:
          7/2021                                               UI/SDI/Underpayment penalty and Interest

          Last 4 digits of account number 7233                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                        $0.00    $0.00
          Franchise Tax Board                                  Check all that apply.
          Attn: Bankruptcy Unit                                   Contingent
          P.O. Box 2952                                           Unliquidated
          Sacramento, CA 95812                                    Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Notice only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.5       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                        $0.00    $0.00
          Internal Revenue Service                             Check all that apply.
          Centralized Insolvency Operations                       Contingent
          P.O. Box 7346                                           Unliquidated
          Philadelphia, PA 19101-7346                             Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Notice only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $680.89
          Charter Communications                                                 Contingent
          400 Washington Blvd.                                                   Unliquidated
          Stamford, CT 06902                                                     Disputed
          Date(s) debt was incurred 8/10/2022
                                                                             Basis for the claim: Business expense
          Last 4 digits of account number 2578
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 2 of 4
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Debtor      Best Rock Quarry, Inc.                                                          Case number (if known)
            Name

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $803.40
         Dept. of the Treasury
         Bureau of Fiscal Service                                     Contingent
         3201 Pennsy Dr.                                              Unliquidated
         Bldg. E                                                      Disputed
         Hyattsville, MD 20785
                                                                   Basis for the claim: Business expense
         Date(s) debt was incurred 2020
         Last 4 digits of account number 4060                      Is the claim subject to offset?     No       Yes


3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,053,589.00
         Marjan Pousti                                                Contingent
         5995 Del Mar Mesa Rd.                                        Unliquidated
         San Diego, CA 92130                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Shareholder loans
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $21,785.69
         Powerscreen of Northern CA                                   Contingent
         1205 Business Park Dr.                                       Unliquidated
         Dixon, CA 95620                                              Disputed
         Date(s) debt was incurred 2019-2020
                                                                   Basis for the claim: Business vendor
         Last 4 digits of account number 7625
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,437.36
         San Bernardino County Tax Collector                          Contingent
         268 W. Hospitality Ln, First Fl.                             Unliquidated
         San Bernardino, CA 92408                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Unsecured property tax bills
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $14,669.45
         Southern California Edison                                   Contingent
         Post Office Box 600                                          Unliquidated
         Rosemead, CA 91772-0002                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utilities
         Last 4 digits of account number 8441
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $562.23
         Spectrum                                                     Contingent
         P.O. Box                                                     Unliquidated
         City of Industry, CA 91716-0074                              Disputed
         Date(s) debt was incurred 4/24/2020
                                                                   Basis for the claim: Business expense
         Last 4 digits of account number 2420
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $464.01
         T.E. Deloss Equipment Rentals                                Contingent
         P.O. Box 459                                                 Unliquidated
         Barstow, CA 92312                                            Disputed
         Date(s) debt was incurred 5/15/2019
                                                                   Basis for the claim: Equipment rental
         Last 4 digits of account number 1404
                                                                   Is the claim subject to offset?     No       Yes




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Debtor       Best Rock Quarry, Inc.                                                                 Case number (if known)
             Name

3.9       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,147.09
          The Local Pages                                                     Contingent
          4910 W. Amelia Earhart Dr.                                          Unliquidated
          Ste. 1                                                              Disputed
          Salt Lake City, UT 84116
                                                                           Basis for the claim: Business expense
          Date(s) debt was incurred 3/6/2020
          Last 4 digits of account number 1935                             Is the claim subject to offset?         No     Yes


3.10      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.            $3,053,590.00
          Tom Pousti                                                          Contingent
          5995 Del Mar Mesa Rd.                                               Unliquidated
          San Diego, CA 92130                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Shareholder loans
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       Sunrise Credit Services
          260 Airport Plaza                                                                         Line     3.1                                    1523
          Post Office Box 9100
                                                                                                           Not listed. Explain
          Farmingdale, NY 11735-9100

4.2       The CBE Group
          1309 Technology Pkwy.                                                                     Line     3.2                                    4060
          Cedar Falls, IA 50613
                                                                                                           Not listed. Explain


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                     14,411.28
5b. Total claims from Part 2                                                                           5b.    +     $                  6,150,729.12

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                      6,165,140.40




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Fill in this information to identify the case:

Debtor name       Best Rock Quarry, Inc.

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Best Rock Quarry, Inc.

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Best Rock Quarry, Inc.

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,             Sources of revenue                           Gross revenue
      which may be a calendar year                                                     Check all that apply                         (before deductions and
                                                                                                                                    exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                       Description of sources of revenue            Gross revenue from
                                                                                                                                    each source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




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Debtor      Best Rock Quarry, Inc.                                                                Case number (if known)



          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case               Court or agency's name and                Status of case
             Case number                                                            address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                  Dates given                            Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss            Value of property
      how the loss occurred                                                                                                                             lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.




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Debtor        Best Rock Quarry, Inc.                                                            Case number (if known)



                Who was paid or who received              If not money, describe any property transferred              Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Law Office of Lazaro E.
                Fernandez, Inc.
                3600 Lime St., Ste. 326
                Riverside, CA 92501                       Attorney Fees                                                8/18/2023                 $20,000.00

                Email or website address
                lef17@pacbell.net

                Who made the payment, if not debtor?




      11.2.     Law Office of Lazaro E.
                Fernandez, Inc.
                3600 Lime St., Ste. 326
                Riverside, CA 92501                       Filing Fee                                                   8/18/2023                  $1,738.00

                Email or website address
                lef17@pacbell.net

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                   Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                    Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                            Dates of occupancy
                                                                                                                   From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?



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Debtor      Best Rock Quarry, Inc.                                                               Case number (if known)



           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None



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Debtor      Best Rock Quarry, Inc.                                                              Case number (if known)



Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Price & Farrington                                                                                                 2021-2022
                    9404 Genesee Ave., Ste. 210
                    La Jolla, CA 92307

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

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    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Scott Martin
                    26282 Neuman Rd.
                    Barstow, CA 92311

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                   Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Scott Martin                            26282 Neuman Rd.                                    CEO                                       50%
                                              Barstow, CA 92311

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Marjan Pousti                           5995 Del Mar Mesa Rd.                               Secretary                                 25%
                                              San Diego, CA 92130

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Tom Pousti                              5995 Del Mar Mesa Rd.                               CFO                                       25%
                                              San Diego, CA 92130



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value


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Debtor      Best Rock Quarry, Inc.                                                          Case number (if known)



31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                  Employer Identification number of the parent
                                                                                                   corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                        Employer Identification number of the pension
                                                                                                   fund




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x




                       Best Rock Quarry, Inc.
                       26282 Neuman St.
                       Barstow, CA 92311


                       Lazaro E. Fernandez
                       Law Office of Lazaro E. Fernandez, Inc.
                       3600 Lime St., Ste. 326
                       Riverside, CA 92501


                       U.S. Trustee (Riv.)
                       3801 University Ave.
                       Suite 720
                       Riverside, CA 92501
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                   CDTFA
                   P.O. Box 942879
                   Sacramento, CA 94279


                   CDTFA
                   3737 Main St., Ste. 1000
                   Riverside, CA 92501-3395


                   Charter Communications
                   400 Washington Blvd.
                   Stamford, CT 06902


                   Dept. of the Treasury
                   Bureau of Fiscal Service
                   3201 Pennsy Dr.
                   Bldg. E
                   Hyattsville, MD 20785


                   EDD
                   P.O. Box 826215
                   MIC 3A
                   Sacramento, CA 94230-6215


                   Franchise Tax Board
                   Attn: Bankruptcy Unit
                   P.O. Box 2952
                   Sacramento, CA 95812


                   Internal Revenue Service
                   Centralized Insolvency Operations
                   P.O. Box 7346
                   Philadelphia, PA 19101-7346


                   Marjan Pousti
                   5995 Del Mar Mesa Rd.
                   San Diego, CA 92130
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                   Powerscreen of Northern CA
                   1205 Business Park Dr.
                   Dixon, CA 95620


                   San Bernardino County Tax Collector
                   268 W. Hospitality Ln, First Fl.
                   San Bernardino, CA 92408


                   Southern California Edison
                   Post Office Box 600
                   Rosemead, CA 91772-0002


                   Spectrum
                   P.O. Box
                   City of Industry, CA 91716-0074


                   Sunrise Credit Services
                   260 Airport Plaza
                   Post Office Box 9100
                   Farmingdale, NY 11735-9100


                   T.E. Deloss Equipment Rentals
                   P.O. Box 459
                   Barstow, CA 92312


                   The CBE Group
                   1309 Technology Pkwy.
                   Cedar Falls, IA 50613


                   The Local Pages
                   4910 W. Amelia Earhart Dr.
                   Ste. 1
                   Salt Lake City, UT 84116
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                   Tom Pousti
                   5995 Del Mar Mesa Rd.
                   San Diego, CA 92130
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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
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California State Bar Number: 134430 CA
lef17@pacbell.net




     Attorney for:
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.:
          Best Rock Quarry, Inc.                                              ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 11

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Scott Martin                                                            , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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